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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                             Case No. 0:21-cv-61163-RKA

  ERRON WILLIAMS,

         Plaintiff,
  v.

  HEALTHCARE REVENUE RECOVERY
  GROUP, LLC,

        Defendant.
  ________________________________________/

                          MOTION TO CONSOLIDATE RELATED ACTIONS

         Pursuant to Federal Rule of Civil Procedure 42(a), Plaintiff Erron Williams submits this

  Motion to Consolidate the below-identified four (4) cases into the above-captioned action.

                                           POSTURE & BACKGROUND

         1.         The above-captioned case (the “Williams Case”) was filed against Defendant

  Healthcare Revenue Recovery Group, LLC (“Defendant”) on May 17, 2021, in Broward County

  Court, Case COCE-21-027400, and timely removed to this Court by Defendant on June 4, 2021.

         2.         The Williams Case, in comparison to the below identified cases, represents the

  earliest filed case with the lowest assigned case number.

         3.         The first related case is Virginia Ayala v. Healthcare Revenue Recovery Group,

  LLC, Case 0:21-cv-61428-RKA, (the “Ayala Case”), of which was first docketed in the Southern

  District of Florida on July 14, 2021.

         4.         The second related case is Patricia Rosa v. Healthcare Revenue Recovery Group,

  LLC, Case 1:21-cv-22510-JEM, (the “Rosa Case”), of which was first docketed in the Southern

  District of Florida on July 14, 2021.

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         5.         The third related action is Melissa Rocher v. Healthcare Revenue Recovery Group,

  LLC, Case 0:21-cv-61964-MGC, (the “Rocher Case”), of which was docketed in the Southern

  District of Florida on September 20, 2021.

         6.         The fourth related action is Lakesha Wilson v. Healthcare Revenue Recovery

  Group, LLC, Case 1:21-cv-23658-BB, (the “Wilson Case”), of which was docketed in the Southern

  District of Florida on October 18, 2021.

         7.         The Williams Case, the Ayala Case, the Rosa Case, the Rocher Case, and the

  Wilson Case (collectively, the “Related Cases”) each allege that Defendant unlawfully transmitted

  the respective plaintiff’s information to a third-party in violation of 15 U.S.C. § 1692c(b).

         8.         Each of the Related Cases involve common questions of law and fact, with the

  seminal inquiry being whether the transmission of the respective plaintiff’s information to a third

  party was a “communication” within the scope of 15 U.S.C. § 1692a(2).

         9.         In each of the Related Cases, the named plaintiffs are represented by the

  undersigned counsel.

         10.        In each of the Related Cases, Defendant is represented by the same counsel.

                                              STANDARD OF REVIEW

         11.        Rule 42(a) of the Federal Rules of Civil Procedure states that “[i]f actions before

  the court involve a common question of law or fact, the court may: (a) join for hearing or trial any

  or all matters at issue in the actions; (2) consolidate the actions; or (3) issue any other orders to

  avoid unnecessary cost or delay.” Fed. R. Civ. P. 42(a). It is well-settled that Rule 42 “is a

  codification of a trial court’s inherent managerial power ‘to control the disposition of the causes

  on its dockets with economy of time and effort for itself, for counsel, and for litigants.’” Hendrix




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  v. Raybestos-Manhattan, Inc., 776 F.2d 1492, 1495 (11th Cir. 1985) (citing In re Air Crash

  Disaster at Fla. Everglades, 549 F.2d 1006, 1012 (5th Cir. 1977)).

         12.      Courts in this District have recognized that consolidation “benefit[s] the court and

  the parties by expediting pretrial proceedings, reducing case duplication, and minimizing the

  expenditure of time and money by all persons concerned.” Coleman Clearing Corp. v. Gurian (In

  re Adler), 2008 U.S. Dist. Lexis 30521, at *1 (S.D. Fla. April 10, 2008). Thus, where – as here –

  “the complaints present similar claims for relief based upon a single course of conduct,”

  consolidation is appropriate since it “promotes judicial economy by streamlining and simplifying

  pre-trial and discovery issues.” Id; Newman v. Eagle Bldg. Techs., 209 F.R.D. 499, 501502 (S.D.

  Fla. July 31, 2002) (finding that class actions were “ideally situated for consolidation” since they

  were “based upon a single course of conduct” and consolidation would therefore “promote judicial

  economy by streamlining and simplifying pre-trial, discovery and class certification issues, and by

  reducing waste, confusion, and delay that would result from multiple trials.”).

            CONSOLIDATION OF THE “RELATED CASES” IS APPROPRIATE

         13.      In the Related Cases, each of the plaintiffs allege that Defendant “transmitted

  Plaintiff’s personal information to a third-party,”1 “of whom Defendant transmitted Plaintiff’s

  personal information to, complied [the plaintiff’s] personal information and prepared a letter that

  was to be sent to [the plaintiff] in an attempt to collect the [underlying consumer debt],2 and




  1
   See Williams Case, D.E. 1-2 at ¶ 20; Ayala Case, D.E. 1-2 at ¶ 20; Rosa Case, D.E. 1-2 at ¶ 20;
  Rocher Case, D.E. 1-2 at ¶ 20; Wilson Case, D.E. 1-2 at ¶ 20.

  2
   See Williams Case, D.E. 1-2 at ¶ 22; Ayala Case, D.E. 1-2 at ¶ 22; Rosa Case, D.E. 1-2 at ¶ 22;
  Rocher Case, D.E. 1-2 at ¶ 22; Wilson Case, D.E. 1-2 at ¶ 20.
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  “Defendant’s transmission of [the plaintiff’s] personal information to the [third-party] is an explicit

  violation of § 1692c(b) of the FDCPA.”3

         14.       Given the substantial similarity between the Parties and issues of law and fact in

  the Related Cases, consolidation is appropriate and would not result in any confusion of issues or

  prejudice to any of the Parties. Further, consolidation would preserve judicial resources and

  alleviate the significant burden and costs of litigating the Related Cases separately.

         15.       WHEREFORE, for the foregoing reasons, Plaintiff Erron Williams respectfully

  request that the Court grant this Motion and consolidate the Ayala Case, the Rosa Case, the Rocher

  Case, and the Wilson Case, into the above-captioned case, i.e., the Williams Case.

                                       CERTIFICATE OF CONFERRAL

         Counsel for Plaintiff certifies that, prior to the submission of this Motion, he conferred with

  counsel for Defendant regarding the relief sought herein, and Defendant opposes the relief sought.

         Dated: November 5, 2021
                                                                            Respectfully Submitted,

                                                                             /s/ Thomas J. Patti                         .
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                                                                            COUNSEL FOR PLAINTIFF



  3
   See Williams Case, D.E. 1-2 at ¶ 28; Ayala Case, D.E. 1-2 at ¶ 28; Rosa Case, D.E. 1-2 at ¶ 28;
  Rocher Case, D.E. 1-2 at ¶ 28; Wilson Case, D.E. 1-2 at ¶ 20.
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                                          CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on November 5, 2021, the foregoing was

  electronically filed with the Clerk of the Court using the CM/ECF system which will send a notice

  of electronic filing to all counsel of record.

                                                                             /s/ Thomas J. Patti                              .
                                                                            THOMAS J. PATTI, ESQ.
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